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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.        5:23-cv-02443-SP                                       Date   March 4, 2024
 Title           ROBEN GABY NOUJAIM v. COUNTY OF RIVERSIDE, et al.




 Present: The Honorable         Sheri Pym, United States Magistrate Judge
           Kimberly Carter                           None Appearing
                Deputy Clerk                     Court Reporter / Recorder               Tape No.
           Attorneys Present for Plaintiff(s):                Attorneys Present for Defendant(s):
                     None Appearing                                    None Appearing
 Proceedings:              (In Chambers) Order to Show Cause Why Case Should Not Be Dismissed
                           for Failure to Effect Service and Prosecute


      On December 1, 2023, plaintiff filed a complaint against defendants County of
Riverside, Riverside County Sheriff’s Office, and eight individual defendants. Under
Federal Rule of Civil Procedure 4(m), plaintiff was required to serve each defendant with
the summons and complaint within 90 days after the complaint’s filing, that is, no later
than February 29, 2024. That date has now passed, but plaintiff has not filed any proof
of such service with the court, nor is there any other indication before the court that the
summons and complaint have been served on any defendant.

      Accordingly, plaintiff is ORDERED to show cause in writing by March 18, 2024
why this case should not be dismissed without prejudice for plaintiff’s failure to
prosecute and serve defendants within the required time period. Plaintiff may discharge
this Order to Show Cause by filing, not later than March 18, 2024, proof of service of the
summons and complaint.

      The court warns plaintiff that failure to respond to the Order to Show Cause
by March 18, 2024, or further failure to prosecute this action in accordance with
court orders, may result in dismissal of this action for failure to prosecute.




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